






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00745-CR


NO. 03-10-00746-CR






Jesse Lee McDowell, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NOS. 66352 &amp; 56386, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



On July 16, 2004, in cause number 56386, appellant Jesse Lee McDowell, Jr. was
placed on deferred adjudication community supervision for ten years after he pleaded guilty to sexual
assault.  See Tex. Penal Code Ann. § 22.011 (West Supp. 2010).  On May 19, 2010, in cause number
66352, appellant was indicted for possessing more than four grams of 3,4-methylenedioxy
methamphetamine.  See Tex. Health &amp; Safety Code Ann. §§ 481.103(a), .113(a), (d) (West Supp.
2010).  One month later, a motion to adjudicate was filed in cause number 56386 alleging,
among&nbsp;other things, that appellant violated the terms of his supervision by committing the
controlled&nbsp;substance offense.  On August 23, 2010, appellant pleaded guilty to the indictment
in&nbsp;cause&nbsp;number&nbsp;66352 and true to the motion to adjudicate in cause number 56386.  On
September&nbsp;28,&nbsp;2010, the trial&nbsp;court rendered judgments convicting appellant in both causes and
sentencing him to eleven&nbsp;years'&nbsp;imprisonment for the sexual assault and ten years' imprisonment for
the controlled substance&nbsp;possession.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that these appeals are frivolous and without merit.  The brief meets the requirements
of Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
records demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the records and file a pro se brief.  See Anders,
386&nbsp;U.S. at 744.  No pro se brief has been filed.

We have reviewed the records and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeals are frivolous.  Counsel's motion to withdraw
is granted.

The judgments of conviction are affirmed.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Affirmed

Filed:   May 18, 2011

Do Not Publish


